474 F.2d 696
    82 L.R.R.M. (BNA) 2622, 70 Lab.Cas.  P 13,385
    SOUTHERN PACIFIC TRANSPORTATION COMPANY, Appellee,v.INTERNATIONAL BROTHERHOOD OF ELECTRICAL WORKERS et al., Appellants.SOUTHERN PACIFIC TRANSPORTATION COMPANY, Appellee,v.INTERNATIONAL BROTHERHOOD OF ELECTRICAL WORKERS et al., Appellants.
    Nos. 26696, 71-1390.
    United States Court of Appeals,Ninth Circuit.
    Jan. 23, 1973.Rehearing Denied Feb. 12, 1973.Certiorari Dismissed April 5, 1973.See 93 S.Ct. 1561.
    
      Harold A. Ross (argued), of Ross, Kraushaar &amp; Bennett, Cleveland, Ohio, Victor A. Bertolani, of Bertolani &amp; Smolich, Sacramento, Cal., for appellants.
      William R. Denton (argued), W. A. Gregory, John J. Corrigan, San Francisco, Cal., John V. Diepenbrock, Forrest A. Plant, of Diepenbrock, Wulff, Plant &amp; Hannegan, Sacramento, Cal., for appellee.
      Before ELY, CHOY, and GOODWIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      The International Brotherhood of Electrical Workers appeals from a preliminary injunction against a work stoppage in a dispute with Southern Pacific Transportation Company concerning work assignments.
    
    
      2
      The identical legal questions now before this court were recently presented and decided in International Brotherhood of Electrical Workers v. Washington Terminal Company, 473 F.2d 1156 (D.C. Cir., 1972).
    
    
      3
      A comprehensive opinion authored by Judge MacKinnon traces the legislative and judicial history of the controlling legislation, and resolves, for the purposes of this dispute, the legal questions presented here.  We agree with the conclusion of the District of Columbia Circuit that the work-assignment dispute involved in these cases is a "minor dispute" within the meaning of the Railway Labor Act, 45 U.S.C. Sec. 153 (1970), and, accordingly, that its proper resolution is for the National Railroad Adjustment Board.
    
    
      4
      Affirmed.
    
    